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                             IJNITED STA TES DISTR ICT C OU RT
                             SOU TIIER N DISTRICT OF FLO RIDA

                                   CA SE N O .22-M .
                                                   1-8332-8ER


     IN R E SEALED SEAR CH W AR R ANT                       FILED U NDER SEAL

                                            /

                                 P ROPOSEDIORDER TO SEAL

           TheUnited StatesofAmerica,havingappliedtothisCourtforan ordersealing(1)the
     United States' Sealed,Ex Parte Response to M edia Intervenors' Renewed M otion for Further

     Unsealingand(2)ExhibitA totheResponse,andtheCourtfindinggoodcause:
           IT IS H EREBY OR DERED thatthe United States'Sealed,Ex Parte Responseto M edia

     lntervenors'Renew ed M otion forFurtherUnsealing,ExhibitA to the Response,and this Order

     shallbe filed undersealuntilfurtherorderofthisCourt.

           D O NE AND ORD ER ED in cham bers at Palm Beach County,Florida,this      -   da# of
            >2023.



                                                    H ON .BRU CE E.REINI-IART
                                                    U NITED STATES M AGISTRATE JU DGE


     Delivercopy to:
